Exhibit B
                                  Expert Report of John P. Barker

    I.       Background

         I am a member of the Bar of the District of Columbia, and of the law firm Arnold &

Porter Kaye Scholer LLP (“Arnold & Porter”). I submit this report in the lawsuit captioned

Dresser-Rand Company (“Dresser-Rand”) v. Petróleos de Venezuela, S.A. (“PDVSA”) and

PDVSA Petróleo, S.A. (“Petróleo”) (Case 1:19-cv-02689-LLS), which is pending in the United

States District Court for the Southern District of New York. A copy of my curriculum vitae is

attached to this report as Exhibit A. A list of my publications during the previous five years is

attached to this report as Exhibit B. I have not previously testified as an expert at trial or by

deposition. I have submitted an Expert Report on the interpretation of sanctions implemented by

the U.S. Department of Treasury Office of Foreign Assets Control (“OFAC”) in the lawsuits

captioned Weiss, et al. v. National Westminster Bank, PLC (Case No. 05-cv-4622 (DLI)(MDG))

and Applebaum, et al. v. National Westminster Bank, PLC (Case No. 07-cv-916 (DLI)(MDG))

as well as the companion cases Strauss, et al. v. Crédit Lyonnais (Case No. 06-cv-702

(DGT)(MDG)) and Wolf, et al. v. Crédit Lyonnais (Case No. 07-cv-914 (DGT)(MDG)).

         Our firm represents the Bolivarian Republic of Venezuela, led by interim President Juan

Guaidó, as well as PDVSA under the direction of the ad hoc board appointed by President

Guaidó and the Central Bank of Venezuela under the direction of the ad hoc board appointed by

President Guaidó. I have provided OFAC compliance advice for these entities and entities

owned and controlled by the Bolivarian Republic of Venezuela. My firm is being compensated

for my services at a rate of $1,235 per hour for work completed before December 31st and expect

to be compensated at a rate of $1,295 per hour for work completed in 2021. Our firm also




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represents Citibank, N.A., Deutsche Bank Trust Co. Americas, JPMorgan Chase, among other

financial institutions.

          I have practiced law with Arnold & Porter since September 2001 and have been a Partner

at the firm since January 1, 2004. My practice focuses on U.S. trade sanctions and export

controls. Previously I served in the U.S. Department of State from 1993-2001 including as the

Deputy Assistant Secretary for Nonproliferation Controls and prior to that as Deputy Assistant

Secretary for Export Controls. Part of my responsibilities at the State Department included the

development and implementation of U.S. sanctions policy. In that role, I provided testimony

before both Houses of Congress on sanctions policy and implementation. Prior to joining the

State Department, I practiced law with Graham & James in California and Tokyo. My practice

at Arnold & Porter includes advising financial institutions on OFAC compliance obligations as

well as other clients that seek to send and receive payments through financial institutions, on

OFAC compliance obligations.

          The materials upon which I have relied in preparing this report are listed in Exhibit C.

    II.      Summary of Opinion

          Based on my review of the above materials and my expert analysis, I have reached the

following conclusions and opinions:

          1. OFAC imposes a comprehensive set of trade sanctions. These sanctions require

             vigilance by U.S. banks that process financial transactions, especially for transactions

             that involve parties potentially subject to U.S. sanctions.

          2. Beginning on August 25, 2017, and continuing during the time of the applicable

             attempted payments to Dresser-Rand, the U.S. prohibited U.S. persons from issuing,
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             or participating in any transfer of funds relating to, any new debt to PDVSA, the

             Government of Venezuela and any entities owned or controlled by the Government of

             Venezuela or PDVSA.

        3. OFAC expects U.S. financial institutions to implement risk-based screening and

             compliance programs to ensure that transactions do not trigger sanctions. Any

             transaction with PDVSA and other instrumentalities of the Government of Venezuela

             were subject to heightened scrutiny, and every bank processing transactions in the

             U.S., whether for the sender or the recipient, would have been expected to have

             conducted heightened due diligence. As a practical matter, it is often difficult or

             impossible for a financial institution to determine whether a particular transfer

             triggers sanctions. As a result, banks are often unwilling to process transactions

             involving sanctioned parties even if such transactions could be legal because the

             processing of such transactions exceeds the risk appetite for the financial institutions.

             This often results in financial institutions rejecting transactions with sanctioned

             parties without even doing due diligence on the transaction to determine whether it is

             legal because of sanctions compliance concerns.

        4. OFAC would have expected financial institutions to conduct heightened due diligence

             for any transfers from PDVSA or Petróleo. A failure of the recipient party to provide

             satisfactory due diligence information and any financial institution’s determination

             that the processing of such a transaction would be unsatisfactory from a risk

             perspective, whether or not the U.S. party provided the satisfactory due diligence,

             would have precluded the processing of the payment. In this case, neither PDVSA
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              nor Petróleo could have made the required payments unless a U.S. financial

              institution determined that it was prepared to process the payments. The OFAC

              sanctions made it impracticable or impossible for PDVSA to perform its payment

              obligations.

           5. On January 28, 2019, the U.S. imposed new sanctions. Since that time, other than

              during a brief wind-down period, no financial transfer involving PDVSA or Petróleo

              can proceed for the benefit of a person subject to U.S. jurisdiction without an OFAC

              general or specific license. I am not aware that such licenses have been issued if

              OFAC views the parties’ agreement to change the payment terms as renegotiation of

              the debt (as described more fully below). Without such a license, current sanctions

              make any transfer of funds from PDVSA or Petróleo to Dresser-Rand impossible.

    III.      OFAC Sanctions Applicable to Payment to Dresser-Rand

           On August 25, 2017, the U.S. implemented Executive Order 13808, which prohibited

new debt with a maturity of 90 days for PDVSA and 30 days for the Government of Venezuela.

See Imposing Additional Sanctions With Respect to the Situation in Venezuela, Exec. Order

13808, 82 Fed. Reg. 41155 (Aug. 25, 2017). Under the Executive Order, the “Government of

Venezuela” includes any person owned or controlled by, or acting for or on behalf of, the

Government of Venezuela. See Exec. Order No. 13808 at § 1(a)(ii). Petróleo would have been

captured by this restriction as it is owned, indirectly, by the Government of Venezuela, and

owned 50% or more by PDVSA. See 31 C.F.R. § 591.406.

           Executive Order 13808 not only prohibits the creation of new PDVSA or Petróleo debt, it

also prohibits U.S. persons from engaging in transactions related to, providing financing for, or
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otherwise dealing in new debt. Accordingly, any financial institution with a presence in the

United States, including branches in the United States or which otherwise seek to clear U.S.

dollars through the U.S. financial system, is prohibited under the Executive Order from

participating in any transfer of funds that relates to new debt. Accordingly, in order to allow any

transfer of funds from PDVSA or Petróleo to Dresser-Rand, a bank would have to perform

sufficient due diligence to ascertain that the proposed payment does not relate to new debt. As a

practical matter, banks are generally not able, and/or not willing, to scrutinize individual

payments from PDVSA or Petróleo to the degree necessary to make such a determination and,

instead, merely reject the payments.

        Specifically, following the issuance of Executive Order 13808, in order to accept

payments involving PDVSA, U.S. financial institutions, as well as international institutions that

do business in the U.S. or are otherwise potentially subject to OFAC jurisdiction and

enforcement, conduct risk-based reviews to determine whether to process transactions. Based on

these procedures, the banks reach a determination as to whether the particular transaction carries

undue compliance risks. That is, a particular transaction may be legal, but it nevertheless carries

with it undue compliance risks. A bank would only process payments if it determined that the

compliance risks supported such a transfer. Bank procedures generally include due diligence to

obtain information from the parties as to whether the transaction was subject to U.S.

prohibitions.

        On November 1, 2018, the U.S. government issued Executive Order 13850, which

imposed additional OFAC sanctions on Venezuela related entities. See Blocking Property of

Additional Persons Contributing to the Situation in Venezuela, Exec. Order No. 13850, 83 Fed.
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Reg. 55243 (Nov. 1, 2018). Under Executive Order 13850, any assets in the United States or

that come into the United States or are in the possession of a United States person, must be

“blocked” – i.e., the assets may not be transferred or paid without a general or specific license.

Exec. Order No. 13850 at § 1(a).

        On January 28, 2019, the Secretary of the Treasury designated PDVSA as a “Specially

Designated National” subject to the blocking sanctions set forth in Executive Order 13850. The

Executive Order applied also to Petróleo, an entity owned 50% or more by PDVSA. Under

OFAC’s interpretation, an entity owned 50% or more by one or more blocked persons is itself

blocked. See OFAC Frequently Asked Question 401 at https://home.treasury.gov/policy-

issues/financial-sanctions/faqs.

        Thus under Executive Order 13850, except for a limited wind-down period discussed

below, all assets of PDVSA and Petróleo are blocked. See 84 Fed. Reg. 3282 (Feb. 11, 2019);

Exec. Order No. 13850, 83 Fed. Reg. 55243 (Nov. 1, 2018). No U.S. person may participate in

the transfer of any such assets unless licensed by OFAC under a general or specific license.

        It is important to note that under the current restrictions, neither PDVSA nor Petróleo

may make payments to Dresser-Rand in any currency unless authorized under a general or

specific license, including in non-U.S. dollar currencies such as Euros, because the non-U.S.

currency would need to be converted into U.S. dollars, and U.S. persons would be involved in

the receipt of funds. Thus, unless and until OFAC issues a general or specific license to

authorize the transaction, or the transaction is otherwise authorized by OFAC, payments from

PDVSA and Petróleo may not proceed under the current OFAC prohibitions.



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          OFAC did issue general licenses to permit the “wind down” of transactions involving

PDVSA. For example, General License No. 11 (dated January 28, 2019 and authorized through

March 29, 2019) permitted U.S. financial institutions to reject rather than block funds from

PDVSA. During that time, banks would have still employed policies based on an internal risk

appetite, and indeed most banks would have increased the scrutiny as a result of the designation

of PDVSA as an SDN.

          After the wind-down period ended, any attempted payment would be a violation of

Executive Order 13850 for any payment to a person subject to U.S. jurisdiction such as Dresser-

Rand unless authorized by an applicable general or specific license. There is no general license

in place that would permit such a payment if OFAC views the parties’ agreement to change the

payment terms as renegotiation of the debt (as described more fully below). I am not aware that

any specific license has been issued.

    IV.      Factual Background

          The following facts are set forth based on my review of the documents produced in this

matter and the sworn deposition testimony. I have not independently verified these facts, but

believe them to be true based on the record in this case.

          On January 21, 2017, PDVSA as issuer, Petróleo as guarantor, and Dresser-Rand as

administrative agent and initial noteholder entered into a note agreement (the “Note

Agreement”), pursuant to which PDVSA agreed to pay the amounts reflected in a corresponding

note issued by PDVSA in the original principal amount of $119,645,069.70 (the “Note”).

Scherzer Aff. Exs. A-B. The Note required the following payments:



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Scherzer Aff. Ex. B. Under the Note Agreement, PDVSA was required to make the requisite

payments to Dresser-Rand’s Citibank account, the account that Dresser-Rand specifically

designated for payment in the Note Agreement. Scherzer Aff. Ex. A at § 2.08, Sched. 2.08.

        On April 24, 2017, PDVSA made the first interest payment of $1,917,599.06 by wire

transfer from PDVSA’s account with China CITIC Bank (“China CITIC”) to Dresser-Rand’s

designated Citibank account, with Deutsche Bank Trust Co Americas (“Deutsche Bank”) serving

as an intermediary bank that facilitated the transfer from China CITIC to Citibank.

DRESSER_0061841. On July 10, 2017, PDVSA made the second interest payment of

$1,938,905.72 by wire transfer from PDVSA’s China CITIC account to Dresser-Rand’s Citibank

account, with Deutsche Bank serving as intermediary. DRESSER_0061826. At the time these

two payments were made, PDVSA and Petróleo were not subject to OFAC sanctions, and the

transfers were processed normally by the banks.



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        On November 21, 2017, after the issuance of Executive Order 13808, PDVSA attempted

to make the third interest payment of $1,960,212.37 by wire transfer from its China CITIC

account. Deutsche Bank Decl. Ex. 2; DRESSER_0059847. That payment was initiated by

PDVSA from its China CITIC account to Dresser-Rand’s account at Citibank. Because China

CITIC is not based in the United States, it would normally use an “intermediary” bank in order to

transfer funds into the United States. In this instance, China CITIC used Deutsche Bank as its

intermediary bank. The payment was transferred by China CITIC to Deutsche Bank, but it was

not received by Dresser-Rand’s Citibank account because Deutsche Bank, as intermediary,

rejected and refused the process the payment order “on the basis of internal Deutsche Bank

policy.” Deutsche Bank Decl. Ex. 3; DRESSER_0059847.

          Deutsche Bank “maintains internal policies governing its processing of international

payment orders to ensure compliance with relevant laws and regulations” including for OFAC.

Brogan Decl. at 2. This includes a specific decision matrix “which outlines Deutsche Bank’s

internal policies for assessing and processing transactions involving a Venezuelan entity, such as

PDVSA.” Id. Pursuant to the decision matrix, any transaction involving a Venezuelan entity

was flagged and temporarily stopped, and then the bank, using the decision matrix, would

determine whether to “pass/release” the transaction or “delete/reject” the transaction.” Id.

According to the SWIFT electronic payment messaging system payment record, as noted above,

Deutsche Bank rejected the payment on the basis of its policy. Id. and Deutsche Bank Decl. Ex.

3; DRESSER_0059847.

        Deutsche Bank made the following determination:



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        The JPMorgan Transaction [the intermediary bank for the payment for the November 21,
        2017 payment] was initially flagged and temporarily stopped because PDVSA, a
        Venezuela-related entity, was involved. After applying the assessment process outlined in
        the Venezuela Decision Matrix, Deutsche Bank rejected and declined to complete the
        JPMorgan Transaction. The Transaction involved a Venezuelan government-related entity
        because it was originated by PDVSA, which Deutsche Bank treated, and continues to treat,
        as a Venezuelan government-related entity. The Transaction had a nexus to the United
        States because the payment was made through Deutsche Bank’s U.S. entity, in U.S. Dollars
        to U.S. bank account (JPMorgan). The purpose of the Transaction was unclear from the
        payment order, and a Deutsche Bank client was not involved; Deutsche Bank was serving
        only as an intermediary. Based on the foregoing, under the Venezuela Decision Matrix,
        Deutsche Bank rejected the JPMorgan Transaction. Deutsche Bank made no determination
        as to whether the transaction involved “dealings in new debt.”


        Brogan Decl. at 7. This is consistent with the policies of major U.S. financial institutions

to make determinations of whether to process transactions involving sanctioned parties on a risk-

based analysis. Intermediary banks are especially reluctant to process transactions without

detailed due diligence on the parties and the legality of the transfers. On November 29, 2017,

PDVSA asked Dresser-Rand to extend the deadline for the third interest payment from October

20, 2017 to December 29, 2017 because, due to the sanctions imposed on PDVSA by Executive

Order 13808, financial institutions were taking longer to process payment orders involving

PDVSA. DRESSER_0059592. Dresser-Rand granted PDVSA’s requested extension. Scherzer

Dep. Tr. 62:2-5.

        On December 18, 2017, PDVSA requested that Dresser-Rand designate another bank to

which PDVSA could make the required payments because Citibank was rejecting payments from

PDVSA. DRESSER_0059846-0059847. On December 27, 2017, Dresser-Rand provided

PDVSA with information on an account with Commerzbank AG (“Commerzbank”) held by

Siemens AG (“Siemens”). DRESSER_0059844-0059845. The Note Agreement, however, was

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not amended to reflect Siemens’ account with Commerzbank as Dresser-Rand’s designated

account for payment. Scherzer Dep. Tr. 64:20-25, 65:1-11.

        On January 31, 2018, PDVSA again attempted to make the $1,960,212.37 payment by

wire transfer to Dresser-Rand’s designated Citibank account. DRESSER_0061898. The

payment was initiated from DMBL – Zuma Bank Corporation by order of PDVSA for transfer to

Dresser-Rand’s account at Citibank. The funds were received by Citibank on February 12, 2018;

but, Citibank rejected the payment “due to internal Citi compliance policy” and returned the

funds to PDVSA on February 14, 2018. Romano Dep. Ex. 5.

        Citibank employed policies for detecting and filtering transactions that may be prohibited

by applicable sanctions laws and regulations, “or if not prohibited, may present a franchise risk

to Citi.” Standard for Sanctions Matches at p. 4. Under Citibank’s Global Operating Standard

for Sanctions Matches, all relationships, accounts, securities holdings, and transactions are

automatically screened for potential sanctions matches. Standard for Sanctions Matches at p. 5.

        If a payment transaction is identified as a potential sanctions match under Citibank’s

Global Operating Standard for Sanctions Matches, the funds are temporarily credited to the

OFAC Sundries account while Citibank conducts research to determine if it is eligible to be

processed. Romano Dep. Tr. 35:20-24. Citibank first reviews a transaction for OFAC sanctions

compliance, and then second, it reviews the transaction for compliance with Citibank’s internal

risk appetite. Romano Dep. Tr. 38:16-19.

        Beginning in September 2017, Citibank’s policy was to reject any payments from

PDVSA or Petróleo due to Citibank’s internal risk appetite, unless a client “preauthorized”

transactions involving PDVSA. Romano Dep. Tr. 41:6-13; 44:8-12. In September 2017,
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Citibank advised Dresser-Rand of this policy and offered Dresser-Rand the opportunity to obtain

the requisite “preauthorization” that would permit Citibank to process payment transactions from

PDVSA. Romano Dep. Ex. 6. Dresser-Rand, however, failed to return the preauthorization

documents required by Citibank. Romano Dep. Tr. 56:16-25, 57:1.

        Accordingly, pursuant to these procedures, upon receipt of the payment order from

PDVSA on February 12, 2018, Citibank placed the funds in Citibank’s “OFAC Sundries”

suspense account to research the transaction. Romano Dep. Tr. 36:3-15; Romano Dep. Ex. 4.

On February 14, 2018, because Dresser-Rand had not provided Citibank with the requisite

documents to obtain preauthorization of the transaction, Citibank rejected the payment

transaction and returned the funds to PDVSA. Romano Dep. Tr. 44:3-12, 45:1-10.

        In February 2018, in an effort to resolve these issues, PDVSA asked Dresser-Rand if

PDVSA could make the required payments in Euros, as opposed to U.S. Dollars, and asked

Dresser-Rand if it was in a position to open a Euro account with Novo Bank.

DRESSER_0004339. Dresser-Rand responded on March 2, 2018 by e-mail, proposing an

amendment to the Note Agreement that would change the payment currency to Euros and

representing that it was “in the position to open an account in Novo Bank.”

DRESSER_0004337-0004339. Dresser-Rand testified that it did, in fact, open a Euro account

with Novo Bank, Scherzer Dep. Tr. 71:6-10. I have seen no evidence that that information was

ever communicated to PDVSA. The proposed amendment changing the payment currency to

Euros was never finalized. Scherzer Dep. Tr. 60:17-19. Nor, based on the documentation in the

records and available to me, was the Note Agreement ever amended to reflect Dresser-Rand’s



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account with Novo Bank as Dresser-Rand’s designated account for payment. Scherzer Dep. Tr.

65:8-11.



    V.       Opinion on Payments Attempted After August 25, 2017

         Following the issuance of Executive Order 13808, based on the information provided to

me, PDVSA attempted on at least two occasions – once in November of 2017 and once in

January of 2018 – to make payments on the Dresser-Rand Note. On both occasions, the

payments were rejected by financial institutions due to the compliance risk in facilitating such

payments in light of OFAC sanctions.

         The Citibank and Deutsche Bank procedures that resulted in the rejection of PDVSA’s

attempts to make payment on the Note were common procedures then and now among financial

institutions implemented to reduce the risk of violating U.S. OFAC sanctions. Banks assess

transactions with sanctioned parties to determine whether the transactions would be consistent

with the banks’ willingness to take on risk. Banks generally will require written documentation

and certifications from U.S. parties that the type, purpose, and parties to transactions are

permitted under the applicable sanctions before a bank will process a payment. It is common for

some banks to refuse to process transactions involving sanctioned parties even if the transaction

is legally permissible due to the compliance risk and reputation risks for dealing with sanctioned

parties, and even if the transaction was processed in another currency.

         Many banks when confronted with transactions potentially subject to sanctions determine

that it is not worth the compliance risk to proceed, even if the transaction may not be legally

prohibited. In some cases, banks reject the transaction after performing due diligence or other
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steps to determine the purpose of the transaction. In other cases, the banks opt not to even

perform due diligence and reject the payment on its face.

        The restrictions and need to ensure compliance with OFAC obligations would apply to

correspondent banks that would receive the payments directly from PDVSA, or would receive

the funds in another currency, such as Euros, that would then need to be converted into U.S.

dollars for transfer to Dresser-Rand’s account in the U.S.

        For example, Commerzbank, too, implemented global policies to ensure compliance with

and reduce the risk of violating OFAC sanctions. CBNY00025-50; CBNY00244. Even though

PDVSA was not designated as an SDN until January 2019, beginning in April 2018,

Commerzbank restricted business activity with Venezuelan persons “after considering the

operational risks and the general business and reputational risks,” among other considerations.

CBNY00244. Under this policy, transfers of funds from a Venezuelan person could only be

processed if there were no “indications for a connection to the financial system or jurisdiction of

the United States” and the processing was not connected to the export of certain equipment and

goods. CBNY00249; Yang Dep. Tr. 21:16-25, 22:1-7; 34:4-17.

        All banks with a presence in the United States, including branches in the United States or

which otherwise seek to clear U.S. dollars through the U.S. financial system, would need to

employ similar due diligence to minimize the risk of violating OFAC sanctions. This risk was

particularly heightened for transactions involving Venezuela. Indeed, the U.S. Department of the

Treasury Financial Crimes Enforcement Network (“FINCEN”) published an Advisory dated

September 20, 2017 on the requirement for enhanced vigilance for financial institutions from

stopping, deterring and preventing proceeds tied to suspected public corruption from moving
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through the U.S. financial system. The Advisory highlighted “Recent Sanctions Actions”

involving Venezuelan entities and individuals including noting the August 25, 2017 designation

of PDVSA. See Advisory on Widespread Public Corruption in Venezuela, U.S. Treasury

Financial Crimes Enforcement Network, FIN-2017-A006, September 20, 2017 (“FINCEN

Guidance”), page 2.

        FINCEN highlighted the importance of due diligence:

        Reminder of Regulatory Obligations for U.S. Financial Institutions FinCEN is
        providing the information in this advisory to assist U.S. financial institutions in
        meeting their due diligence obligations that may apply to activity involving certain
        Venezuelan persons. To best meet these obligations, financial institutions should
        generally be aware of public reports of high-level corruption associated with senior
        Venezuelan foreign political figures, their family members, associates, or
        associated legal entities or arrangements. Financial institutions should assess the
        risk for laundering of the proceeds of public corruption associated with specific
        particular customers and transactions. Financial institutions also should be aware
        that OFAC has designated (and provided related guidance on) several Venezuelan
        persons and entities located in or related to Venezuela.1

FINCEN Guidance, page 5.

        OFAC also addresses the importance of a risk-based compliance program directly. In its

Economic Sanctions Enforcement Guidelines, OFAC provides General Factors Affecting

Administrative Action” in the event of a violation and notes that a key factor in assessing

violations is an institution’s compliance program. OFAC notes that among the factors OFAC

may consider in evaluating the harm to sanctions program objectives are:

        “E. Compliance Program: the existence, nature and adequacy of a Subject Person's
        risk-based OFAC compliance program at the time of the apparent violation, where
        relevant.



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  See https://www.treasury.gov/resource-center/sanctions/OFAC-Enforcement/Pages/20170518.aspx. For more
information on OFAC’s sanctions related to Venezuela,
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31 C.F.R. Part 501, Appendix A--Economic Sanctions Enforcement Guidelines. OFAC

specifically highlights “risk-based compliance programs for financial institutions” in an OFAC

Risk Matrix, which identifies as “High” risk transactions where there are “[a] large number of

high-risk customers.” See “OFAC Risk Matrix” at Annex to 31 C.F.R. Part 501, Appendix A--

Economic Sanctions Enforcement Guidelines. (This language also appears in the 2017 edition of

the Code of Federal Regulations, 31 C.F.R. Ch. V (7-1-17 Edition) at pages 46 and 51, the

regulation which would have been in effect at the time of the attempted payments.)

        Other OFAC publications reinforce this approach. OFAC guidance for sanctions

compliance recognizes the need for a compliance program. In “A Framework for OFAC

Compliance Commitments,” OFAC notes that

        OFAC strongly encourages organizations subject to U.S. jurisdiction, as well as foreign
        entities that conduct business in or with the United States, U.S. persons, or using U.S.-
        origin goods or services, to employ a risk-based approach to sanctions compliance by
        developing, implementing, and routinely updating a sanctions compliance program
        (SCP).

“A Framework for OFAC Compliance Commitments,” p. 1., available at

https://home.treasury.gov/system/files/126/framework_ofac_cc.pdf (last checked November 12,

2020). The same guidance goes on to note that:

        VII. Improper Due Diligence on Customers/Clients (e.g., Ownership, Business
        Dealings, etc.) One of the fundamental components of an effective OFAC risk
        assessment and SCP is conducting due diligence on an organization’s customers,
        supply chain, intermediaries, and counter-parties. Various administrative actions
        taken by OFAC involved improper or incomplete due diligence by a company or
        corporation on its customers, such as their ownership, geographic location(s),
        counter-parties, and transactions, as well as their knowledge and awareness of
        OFAC sanctions.

Id. at p. 11.


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          Bank regulators highlight the need for OFAC compliance.         For example, the Bank

Secretary Act/Anti-Money Laundering Manual of the Federal Financial Institutions Examination

Council notes as part of its “Examination Procedures,” the Objective to “[a]ssess the bank’s risk-

based Office of Foreign Assets Control (OFAC) compliance program to evaluate whether it is

appropriate for the bank’s OFAC risk, taking into consideration its products, services, customers,

entities, transactions, and geographic locations.”            BSA/AML Manual, available at

https://bsaaml.ffiec.gov/manual/OfficeOfForeignAssetsControl/01_ep (last checked November

12, 2020).

          After the August 2017 designations, U.S. financial institutions were put on heightened

notice of the risks in dealing with transactions involving Venezuelan entities. OFAC encourages

a risk-based compliance program and any transactions with Venezuela would have been

considered high risk after the implementation of U.S. sanctions. OFAC’s expectation would

have been for the institutions to conduct enhanced due diligence based on the risk of OFAC

violations involving Venezuela and only to proceed if the financial institution had sufficient

information available to determine that processing the transaction presented an acceptable

compliance risk, information that was not provided here.

          Accordingly, payment by PDVSA or Petróleo to Dresser-Rand on the Note was

impractical or impossible beginning on August 25, 2017.

    VI.      Opinion on Ability to Make Payments After January 28, 2019

          As a result of PDVSA’s designation as an SDN on January 28, 2019, PDVSA and

Petróleo are now blocked parties and may only transfer funds from these entities to persons

subject to U.S. jurisdiction including transfers to the U.S. if OFAC authorizes the transfer
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through a general or specific license. See Executive Order No. 13850, 83 Fed. Reg. 55243 (Nov.

1, 2018).

        As noted above, OFAC did issue general licenses to permit the “wind down” of

transactions involving PDVSA. General License No. 11 (dated January 28, 2019 and authorized

through March 29, 2019) permitted U.S. financial institutions to reject rather than block funds

from PDVSA. During that time, banks would have still employed policies based on an internal

risk appetite, and indeed most banks would have increased the scrutiny as a result of the

designation of PDVSA as an SDN.

        After the wind-down period ended, any attempted payment unless otherwise authorized

would be a violation of Executive Order 13850 for any payment to a person subject to U.S.

jurisdiction such as Dresser-Rand.

        There is no general license that would permit such a payment if OFAC views the parties’

agreement to change the payment terms as renegotiation of the debt (as described more fully

below).

        The U.S. also issued General License 9 and subsequent amendments through 9G dated

May 12, 2020 to authorize certain dealings in debt of PDVSA. Subsection (a) of the most recent

amendment, 9G, provides as follows:

                 (a) Except as provided in paragraphs (f) and (g) of this general license, all

                 transactions and activities prohibited by Subsection 1(a)(iii) of Executive Order

                 (E.O.) 13808 of August 24, 2017 or by E.O. 13850 of November 1, 2018, each as

                 amended by E.O. 13857 of January 25, 2019, or by E.O. 13884 of August 5,

                 2019, as collectively incorporated into the Venezuela Sanctions Regulations, 31
                                                    18



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                 C.F.R. part 591 (the VSR), that are ordinarily incident and necessary to dealings

                 in any debt (including the bonds listed on the Annex to this general license,

                 promissory notes, and other receivables) of, or any equity in, Petróleos de

                 Venezuela, S.A. (PdVSA) or any entity in which PdVSA owns, directly or

                 indirectly, a 50 percent or greater interest, issued prior to August 25, 2017 (the

                 effective date of E.O. 13808) (together, “PdVSA Securities”), are authorized,

                 provided that any divestment or transfer of, or facilitation of divestment or

                 transfer of, any holdings in such PdVSA Securities must be to a non-U.S. person.

See General License 9G, dated May 12, 2020, available at

https://home.treasury.gov/system/files/126/venezuela_gl9g.pdf (last checked March 18, 2021).

The practical effect of this General License 9G is to authorize transactions prohibited by the

cited Executive Orders for dealings in any debt of PDVSA or any entity in which PDVSA owns,

directly or indirectly, a 50 percent or greater interest, issued prior to August 25, 2017 provided

there was no renegotiation of the debt.

        The General License would authorize a payment on the debt in the same way that the

payment could have gone forward after the designation in 2017, provided that there was no

renegotiation of the debt. The series of General Licenses do not authorize dealing in any debt

renegotiated after August 25, 2017 unless separately authorized. The policy behind the

Executive Order is to deal with debt that has not been modified. If there has been a change to the

payment terms between the parties, that would raise an issue of whether the General License 9G

or its predecessors would apply.



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        As noted above, on November 29, 2017, PDVSA asked Dresser-Rand to extend the

deadline for the third interest payment from October 20, 2017 to December 29, 2017 because,

due to the sanctions imposed on PDVSA by Executive Order 13808, financial institutions were

taking longer to process payment orders involving PDVSA. DRESSER_0059592. Dresser-

Rand granted PDVSA’s requested extension. Scherzer Dep. Tr. 62:2-5.

        The information in the record raises a question of whether there was a renegotiation of

the debt after August 25, 2017, which, if there was a renegotiation of such debt, would invalidate

the application of the General License 9G. General License 9G and the predecessor versions put

the parties in the same position from the time of the designation to today that any financial

institutions subject to U.S. jurisdiction that would process the transaction involving parties

designated by OFAC would have to feel comfortable that the transactions were authorized by

OFAC and would be prepared to take on any risk of an alternate conclusion by OFAC.

        The regulator, OFAC, would be in the best position to determine definitively whether the

renegotiation by the parties of the payment terms after August 25, 2017 as acknowledged in the

Dresser testimony would preclude reliance on General License 9G and its predecessors. OFAC’s

guidance appears directly on point that renegotiated debt would not qualify for the General

License. OFAC would need to determine whether the change in payment terms to a later date

would be considered a renegotiation of the debt.

        OFAC has addressed this issue in its guidance. OFAC’s Frequently Asked Question 514

provides that as follows:

        514. If a U.S. person entered into a revolving credit facility or long-term loan
        arrangement for the Government of Venezuela prior to the sanctions effective date,
        what are the restrictions under E.O. 13808 on drawdowns from that facility? Do all
                                                   20



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        drawdowns and disbursements pursuant to the parent agreement need to carry
        repayment terms of 90 days or less (for PdVSA) or 30 days or less (for the rest of the
        Government of Venezuela)?

        Answer
        If a U.S. person entered into a long-term credit facility or loan agreement prior to August
        25, 2017, drawdowns and disbursements with repayment terms of 90 days or less (for
        PdVSA) or 30 days or less (for the rest of the Government of Venezuela) are not
        prohibited. Drawdowns and disbursements whose repayment terms exceed the applicable
        authorized tenor are also not prohibited if the terms of such drawdowns and
        disbursements (including the length of the repayment period, the interest rate applied to
        the drawdown, and the maximum drawdown amount) were contractually agreed to prior
        to August 25, 2017, and are not modified on or after August 25, 2017. U.S. persons may
        not deal in a drawdown or disbursement initiated after August 25, 2017 with a repayment
        term of longer than 90 days (for PdVSA) or 30 days (for the rest of the Government of
        Venezuela), if the terms of the drawdown or disbursement were negotiated on or after
        August 25, 2017. Such a newly negotiated drawdown or disbursement would constitute a
        prohibited transaction related to new debt under E.O. 13808.
        Note that General License 2 authorizes all transactions in new debt of the Government of
        Venezuela of any tenor provided that the only Government of Venezuela entities
        involved in the transactions are CITGO Holding, Inc. and any of its subsidiaries.
        Date Released
        July 19, 2018


See https://home.treasury.gov/policy-issues/financial-sanctions/faqs/514 (last checked March 18,

2021). The FAQ above provides that “U.S. persons may not deal in a drawdown or disbursement

initiated after August 25, 2017 with a repayment term of longer than 90 days (for PdVSA) or 30

days (for the rest of the Government of Venezuela), if the terms of the drawdown or

disbursement were negotiated on or after August 25, 2017.”

        OFAC would need to determine whether an agreement between the parties to delay the

payment date for the third interest payment from October 20, 2017 to December 29, 2017 would

constitute a renegotiation of the payment terms. Given the time-value of money, when the

parties agreed to allow the payment to be made later they were implicitly reducing the payment
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amount. At a minimum, it would raise a red flag that a U.S. financial institution would have to

assess before proceeding with processing the payment so as to be able to rely on the General

License. I am not aware that any specific license has been issued that would cover such a

transaction.

        Accordingly, in addition to the reasons set forth above in Section V, beginning January

28, 2019, any payment to Dresser-Rand by PDVSA or Petróleo is impractical or impossible due

to their designation as SDNs.

        I, John Barker, certify, under penalty of perjury, that the information provided herein is

true and correct to the best of my knowledge.



Dated: March 29, 2021



                                                       ______________________
                                                            John P. Barker




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                                          Exhibit A

                                             CV

Attached and available at: https://www.arnoldporter.com/en/people/b/barker-john-p




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                                   John P. Barker
                                   Partner

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                               tel: +1 202.942.5328                   Washington, DC 20001-3743




                                   John Barker's practice focuses on national security matters including export controls and
    Areas of Focus                 trade sanctions administered by the Office of Foreign Assets Control at the US
     National Security            Department of the Treasury (OFAC), and compliance with the Foreign Corrupt Practices
                                   Act (FCPA). He helps companies and institutions establish compliance plans, obtain
     International Trade
                                   export authorizations, and provides representation in enforcement proceedings. He also
     Legislative and Public
                                   represents companies before the Committee on Foreign Investment in the United States
      Policy
                                   (CFIUS) in reviews required under the US Exon-Florio statute. Mr. Barker came to the firm
     Anti-Corruption              from the US Department of State, where he served as the Deputy Assistant Secretary for
      Education                    Nonproliferation Controls and, prior to that, as Deputy Assistant Secretary for Export
                                   Controls.
     JD, University of Michigan
      Law School, 1986             In his most recent position at the State Department, Mr. Barker supervised the
     AB, Dartmouth College,       development and implementation of US policy on multilateral nonproliferation and security
      1983                         regimes, and nonproliferation sanctions. As the Deputy Assistant Secretary for Export
                                   Controls, he supervised the US munitions licensing and defense trade compliance under
    Admissions
                                   the International Traffic in Arms Regulations (ITAR) including imposing sanctions on
     District of Columbia         companies for violation of US export control law. He led US negotiating teams to more
                                   than 20 countries, supervised audits of defense trade manufacturing facilities, and
                                   oversaw the US government's nonproliferation review of dual-use exports subject to the
                                   Export Administration Regulations (EAR).

                                   Mr. Barker testified frequently before the US Congress on a wide variety of export control
                                   matters including trade sanctions, preventing the transfer of arms and dual-use
                                   technology to state sponsors of terrorism, the Export Administration Act, export licensing
                                   and compliance, and regulation of the aerospace industry.

                                   Mr. Barker was recognized nationally in Chambers USA for his work on export controls
                                   and trade sanctions.

                                   Mr. Barker received his JD from the University of Michigan Law School in 1986, where he
                                   was Managing Editor of the Journal of Law Reform. After his clerkship with the Honorable
                                   James S. Holden of the US District Court for the District of Vermont, he was appointed a

                                                        24



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                 Visiting Scholar at the Harvard Center for International Affairs. He also served as a Visiting
                 Fellow at London's International Institute for Strategic Studies. From 1988 to 1993, he was
                 an associate at an international law firm, where he served in the its Palo Alto, Tokyo, and
                 San Francisco offices. While there, he co-authored a Stanford University study on ballistic
                 missile proliferation.



                     Recognition
                      Global Investigations Review
                       Top 25 Sanctions Lawyers in Washington, DC (2019)
                      Best Lawyers
                       International Trade and Finance Law (2010-2020)
                      The Legal 500 US
                       International Trade (2009-2010, 2012-2019)
                       "Leading Lawyer" – Dispute Resolution: International Trade (2018)
                       "Leading Lawyer" – Litigation: International Trade (2013-2017)
                      Chambers USA
                       International Trade: Export Controls & Economic Sanctions (Nationwide) (2005-
                       2019)
                      Chambers Global
                       International Trade: Export Controls & Economic Sanctions (USA) (2011-2019)
                      The Legal 500 Hall of Fame
                       International Trade (US) (2018)


                     Government / Military Service
                      Deputy Assistant Secretary for Nonproliferation Controls, US Department of State
                      Deputy Assistant Secretary for Export Controls, US Department of State




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                                                                Exhibit B

                             List of Publications of John Barker in the Last Five Years

                                                              Publications

West Government Contracts Year In Review Conference, Conference Briefs, “Export Controls,
Compliance & National Security Concerns: U.S. Export Controls Under the International Traffic
in Arms Regulations and the Export Administration Regulations; and Implementation of
National Security Reviews by the Committee on Foreign Investment in the U.S. (CFIUS)” 2011,
2012, 2013, 2014, 2015, 2016, 2017, 2018, 2019, 2020 and 2021
The following are all available at: https://www.arnoldporter.com/en/people/b/barker-john-p


March 12, 2021

Myanmar Sanctions and Export Controls
Advisory

February 4, 2021

Beyond TikTok: Commerce Issues New CFIUS-Like Review Rule for
Transactions Involving Information and Communications Technologies and
Services
Advisory

January 21, 2021

End of 2020 Export Control and Sanctions Roundup: The US Government
Made a Number of Significant Changes that Should Not Be Overlooked
Advisory

January 7, 2021

OFAC Issues Guidance on the Implementation of Trump Executive Order
Banning Transactions Involving the Securities of “Communist Chinese
Military Companies”
Advisory

December 11, 2020

US Department of State Announces Second Extension of ITAR Compliance
Relief
Advisory




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November 19, 2020

Trump Administration's Executive Order Banning Securities of "Communist
Chinese Military Companies"
Advisory

November 3, 2020

OFAC Issues Guidance on Sanctions Risks in the Art Scene
Advisory

October 7, 2020

Pay Now and Pay Later: The Perils of Ransomware Payments
Enforcement Edge: Shining Light on Government Enforcement

September 23, 2020

CFIUS Finalizes New Export Controls Test for Critical Technology
Transactions
Advisory

August 31, 2020

Commerce Commences Rulemaking for New Export Restrictions Rules for
Foundational Technologies: Both Export Controls and CFIUS May Be
Affected
Advisory

August 4, 2020

The End of Hong Kong's "Preferential Treatment": US Imposes Similar
Export Controls as on China and Introduces Sanctions
Enforcement Edge: Shining Light on Government Enforcement

July 31, 2020

US National Security Update: CFIUS Filing Fees, Extension of ITAR Relief,
Hong Kong Loses Special Status with Sanctions on the Horizon
Advisory

June 11, 2020

A Rare Chance To Shape Arms Regulation Compliance Relief
Aerospace & Defense Law360, Compliance Law360, Employment Law360,
International Trade Law360, Public Policy Law360



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June 2020

More Restrictions on Global Sales of Goods & Technology to Huawei (pdf)
Bloomberg Law

June 10, 2020

State Department Announces Limited Opportunity to Comment on ITAR
Compliance Relief Due to COVID-19
Coronavirus: Multipractice Advisory

June 2, 2020

Export Control Compliance at University: GAO Calls for Improved Guidance
Advisory

May 22, 2020

CFIUS Proposes Rule to Align Certain Mandatory Filing Requirements With
Export Control Regulations
Advisory

May 22, 2020

CFIUS Proposal May Disproportionately Hit Certain Countries
Aerospace & Defense Law360, International Trade Law360, Mergers &Acquisitions
Law360, Public Policy Law360, Technology Law360

May 21, 2020

New Export Control Rule Expands the Universe of Semiconductors and
Other Goods that May Not Be Sold to Huawei and Its Affiliates
Advisory


May 2020

Expanded Export Restrictions to China, Russia, and Venezuela (pdf)
Bloomberg Law

May 8, 2020

Enforcement Agencies Grant Temporary Trade Sanctions and ITAR
Compliance Relief Due to COVID-19

Coronavirus: Multipractice Advisory



US 168846833v8
April 30, 2020

The US Further Restricts Exports to China, Russia and Venezuela—
Including Many Commercial Electronics Items and Software
Advisory

April 6, 2020

Locating Potential Real Estate Transaction Issues: CFIUS Releases New
Part 802 Geographic Reference Tool
Advisory

March 18, 2020

Help in a Time of COVID-19: Providing Humanitarian Assistance to Those
in Need in Countries Subject to US Economic Sanctions
Coronavirus: Global Law & Public Policy Advisory

March 10, 2020

CFIUS Proposes Fee Structure for Voluntary Notices
Advisory

March 3, 2020

The Helms-Burton Act's Unexpected Boomerang Effect: Most Lawsuits
Have Targeted US Companies
Advisory

January 30, 2020

DOJ's Revised Self-Disclosure Policy for US Trade Sanctions and Export
Control Violations Offers 'Concrete and Significant' Benefits for
Corporations (pdf)
Thomson Reuters, Westlaw

January 17, 2020

CFIUS Finalizes FIRRMA Real Estate Transaction Rules
Advisory

January 17, 2020

CFIUS Finalizes Rules Implementing Its Expanded Jurisdiction to Review
Foreign Investment in US Businesses
Advisory



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January 7, 2020

Exxon Mobil Challenged a $2 Million OFAC Penalty—and the District Court
Agreed
Advisory

December 19, 2019

DOJ's Revised Self-Disclosure Policy for US Trade Sanctions and Export
Control Violations Offers "Concrete and Significant" Benefits for
Corporations
Advisory

November 2019

Deskbook on Internal Investigations, Corporate Compliance, and White
Collar Issues (2nd ed.)
Practising Law Institue

October 7, 2019

CFIUS Releases New Real Estate Transaction Rules
Advisory

October 7, 2019

CFIUS Proposed Rules Firm up Plans for New Scrutiny of Foreign
Investment
Advisory

August 26, 2019

Calm before the storm? What we can learn from the slow start to Helms-
Burton cases (pdf)
Westlaw Journal Government Contract, Volume 33, Issue 9

July 17, 2019

Calm Before the Storm? What We Can Learn From the Slow Start to Helms-
Burton Cases
Advisory

July 9, 2019

FAQs on the Foreign Investment Risk Review Modernization Act (FIRRMA)
and the CFIUS Pilot Program
Advisory


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July 1, 2019

OFAC Now Requires U.S. Persons to Report Any Transaction They Reject
Due to Sanctions
Advisory

May 3, 2019

Not as Close to the Vest: OFAC Releases a "Framework" for Sanctions
Compliance that Offers a Glimpse into the Agency's Enforcement Posture
Advisory

April 22, 2019

Turnabout: Preparing for the Trump Administration's New Cuba
Restrictions and Lawsuits on "Trafficking" in Confiscated Property
Advisory


February 12, 2019

What You Don't Know Can Hurt You: OFAC's First 2019 Enforcement Cases
Emphasize Global Supply Chain and Affiliate Risks
Advisory

December 6, 2018

Export Controls and Service Contractors: Determining When and How to
Obtain US Government Authorization to Accomplish Your Objectives
Speaker, Association of Corporate Counsel National Capital Region, McLean, VA

December 5, 2018

BIS Invites Comment on Identifying Emerging Technologies Subject to New
Export Controls and CFIUS
Advisory

November 7, 2018

New Risks Created by OFAC Cyber-Related Sanctions
Advisory




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November 5, 2018

US Sanctions Against Iran Re-Imposed as Wind-Down Periods for Iran Deal
Expire
Advisory


October 16, 2018

New Mandatory Submissions to CFIUS: Interim Regulations Under
FIRRMA Take Effect November 10, 2018
Advisory

August 13, 2018

New Law Expands and Reforms CFIUS Jurisdiction and US Export Controls
Advisory

May 10, 2018

President Trump Announces Withdrawal From Iran Deal
Advisory

April 18, 2018

Implications of US Sanctions on Russian Oligarchs and Their Businesses
Advisory

March 23, 2018

OFAC Publishes Digital Currency-Related Guidance
Advisory


March 16, 2018

Trump Administration Imposes Sanctions for Russia's 2016 Election
Interference and Cyber-Attacks
Advisory

February 13, 2018

CFIUS Scrutiny Of Foreign Acquisitions Intensifies

Aerospace & Defense Law360, Banking Law360, Competition Law360, International
Trade Law360, Mergers & Acquisitions Law360, Public Policy Law360




US 168846833v8
January 24, 2018

CFIUS Scrutiny of Foreign Investment Intensifies with Broadening Scope
Advisory

November 13, 2017

Trump Administration Implements Tightening of Cuba Sanctions
Advisory

October 17, 2017

President Trump's Decertification of the Iran Nuclear Deal: Process Started
for Possible New Sanctions and Withdrawal or Renegotiation of
Multilateral Agreement with Iran
Advisory


September 27, 2017

US Trade Sanctions Update: North Korea, Iran and Russia
Advisory

April 6, 2017
Preparing for a New Administration: What Should Endowments Expect?
Arnold & Porter Seminar, Washington, DC

February 10, 2017

Trump Administration Issues New Sanctions on Persons Supporting Iran’s
Ballistic Missile Program and Terrorism; OFAC Enforcement Continues
Advisory

December 30, 2016

Do Svidaniya for Now: Obama Administration Imposes New Sanctions in
Response to Russian Cyber-Interference in 2016 Election
Advisory

December 21, 2016

Presidential Prohibition of Chinese Company Purchase of Semiconductor
Firm Highlights Increased U.S. Government Scrutiny of Chinese
Investments
Advisory




US 168846833v8
November 29, 2016

No More Iranian Pistachios? Possible Changes to US Trade Sanctions Under
President Trump
Advisory

October 26, 2016

Self-Disclosing Criminal Export Violations: The New Guidance
Aerospace & Defense Law360, International Trade Law360, Public Policy Law360,
White Collar Law360

October 24, 2016

DOJ Guidance on Voluntary Self-Disclosures of Criminal Violations of
Export Control and Sanctions Laws
Advisory

October 17, 2016

No Turning Back: The Obama Administration Moves to Solidify the Shift in
US-Cuba Policy With Further Opportunities for US Persons to Do Business
in Cuba
Advisory

March 24, 2016

Cuba Update: Obama Administration Makes Further Policy Changes
Arnold & Porter Advisory


February 18, 2016

Obama Administration Continues Loosening Cuba Sanctions
Arnold & Porter Advisory

January 27, 2016

Global Anti-Corruption Insights: 2015 Year-End Review (pdf)
FCPA News and Insights

January 19, 2016

Implementation Day: Iran Sanction Relief Arrives, and Is More Robust
Than Expected for US Companies With Foreign Interests
Arnold & Porter Advisory



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January 12, 2016

More Teeth, No Bytes: OFAC Cyber Sanctions Regulations (pdf)
Published by Banking Law 360, International Trade Law360, Privacy Law360, and
Public Policy Law360
January 11, 2016

More Teeth, No Bytes: OFAC Issues Regulations For Its Yet Unexercised
Cyber-Related Sanctions Authority
Arnold & Porter Advisory


December 19, 2015

Obama Administration Expands Opportunities for Economic Engagement
and Other Exchanges Between the U.S. and Cuba (pdf)
Bloomberg BNA's International Trade Reporter




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                                                 Exhibit C


         List of Publications Relied Upon in Preparing the Expert Report of John P. Barker



    1. Executive Order No. 13808, Imposing Additional Sanctions with Respect to the Situation
       in Venezuela. 82 Fed. Reg. 41155 (August 25, 2017)

    2. Executive Order No. 13850, Blocking Property of Additional Persons Contributing to the
       Situation in Venezuela 83 Fed. Reg. 55243 (November 1, 2018)

    3. Department of Treasury, Notice of OFAC Sanctions Actions, Office of Foreign Assets
       Control, Case ID Venezuela-EO13850-15615, 84 Fed. Reg. 3282 (Feb. 11, 2019)

    4. Press Release, “Treasury Sanctions Venezuela’s State-Owned Oil Company Petroleos de Venezuela,
       S.A.”, January 28, 2019, available at https://home.treasury.gov/news/press-releases/sm594

    5. 31 C.F.R. Part 591, Venezuela Sanctions Regulations

    6. Advisory on Widespread Public Corruption in Venezuela, U.S. Treasury Financial
       Crimes Enforcement Network, FIN-2017-A006, September 20, 2017 available at
       https://www.fincen.gov/sites/default/files/advisory/2017-09-
       20/FinCEN%20Advisory%20FIN-2017-A006-508%20Compliant.pdf

    7. OFAC Economic Enforcement Guidelines, 31 C.F.R. Part 501 (2020 and 2017 editions)

    8. OFAC General License No. 11 dated January 28, 2019, expired March 29, 2019, archived
       copy available at https://home.treasury.gov/system/files/126/venezuela_gl11.pdf

    9. OFAC Frequently Asked Question 401 at https://home.treasury.gov/policy-
        issues/financial-sanctions/faqs.
    10. OFAC Frequently Asked Question 514 at https://home.treasury.gov/policy-
        issues/financial-sanctions/faqs/514

    11. OFAC General License No. 9G dated May 12, 2020 at
        https://home.treasury.gov/system/files/126/venezuela_gl9g.pdf




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                                            Exhibit C

                                    Supplemental Exhibit C

      List of Case Documents Relied Upon in Preparing the Expert Report of John P. Barker

    1. Docket Report, Dresser-Rand Company v. Petroleos De Venezuela, S.A., et al.,
       Assigned to: Judge Louis L. Stanton, Cause: 28:1441 Petition for Removal-Breach of
       Contract, Case #: 1:19-cv-02689-LLS

    2. Defendants’ Memorandum of Law in Opposition to Plaintiff’s Motion for Summary
       Judgment in Lieu of Complaint (Modified), Dresser-Rand Company v. Petroleos De
       Venezuela, S.A., Case #: 1:19-cv-02689-LLS

    3. Opinion & Order dated February 11, 2020, Dresser-Rand v. Petroleos de Venezuela, S.A.
       and PDVSA Petroleo, S.A., 19 Civ. 2689-LLS

    4. Deposition of Raymond G. Romano, Citibank N.A., Transcript and Exhibits 1-10,
       Dresser-Rand Company v. Petroleos De Venezuela, S.A., Case #: 1:19-cv-02689-LLS

    5. Deposition of Jennifer Yang, Commerzbank AG, Transcript and Exhibits 1-5, Dresser-
       Rand Company v. Petroleos De Venezuela, S.A., Case #: 1:19-cv-02689-LLS

    6. Deposition of Erik Scherzer, Dresser-Rand Company, Transcript and Exhibits 1-8,
       Dresser-Rand Company v. Petroleos De Venezuela, S.A., Case #: 1:19-cv-02689-LLS

    7. Declaration of Raymond G. Romano, Citibank N.A., including Exhibit 1, Dresser-Rand
       Company v. Petroleos De Venezuela, S.A., Case #: 1:19-cv-02689-LLS

    8. Declaration of Angela Brogan, Deutsche Bank Trust Co Americas, including Exhibits 1-
       5, Dresser-Rand Company v. Petroleos De Venezuela, S.A., Case #: 1:19-cv-02689-LLS

    9. DRESSER_0061841, DRESSER_0061826, DRESSER_0059847, DRESSER_0059592,
       DRESSER_0061898, DRESSER_0004337-0004339, CBNY00025-50, CBNY00244,
       CBNY00249




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